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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

 STC.UNM,                                                CASE NO. 6:19-cv-428

                    Plaintiff,

         v.

 APPLE INC.,

                    Defendant.


   DECLARATION OF MICHAEL JAYNES IN SUPPORT OF DEFENDANT APPLE
       INC.’S MOTION TO TRANSFER VENUE UNDER 28 U.S.C. § 1404(a)

       I, Michael Jaynes, hereby declare and state as follows:
       1.      I am over 18 years of age and competent to make this declaration. If called to
testify as a witness in this matter, I could and would testify truthfully to each of the statements in
this declaration.
       2.      I am employed as a Senior Finance Manager at Apple Inc. (“Apple”) in
Sunnyvale, California. I have been employed by Apple since January 2015.
       3.      I provide this declaration in support of Apple’s Motion to Transfer Venue Under
28 U.S.C. § 1404(a) to the Northern District of California (“NDCA”) filed in the above-
captioned case. Unless otherwise indicated below, the statements in this declaration are based
upon my personal knowledge, my review of corporate records maintained by Apple in the
ordinary course of business, and/or my discussions with Apple employees. If called to testify as
a witness, I could and would competently do so under oath.
       4.      I understand that the NDCA includes Alameda, Contra Costa, Del Norte,
Humboldt, Lake, Marin, Mendocino, Monterey, Napa, San Benito, San Francisco, San Mateo,
Santa Clara, Santa Cruz, and Sonoma counties.
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       5.      Apple is a California corporation and was founded in 1976. Apple is a global
business headquartered in Cupertino, California.

       6.      Apple’s management and primary research and development, and marketing
facilities are located in or near Santa Clara Valley of California, including cities such as
Cupertino and Sunnyvale. The primary operation, marketing, sales, and finance decisions for
Apple also occur in or near Cupertino, and Apple business records related to product revenue are
located there. As of August 2019, Apple has more than 35,000 employees who work in or near
its Cupertino headquarters.
       7.      I understand that STC.UNM filed the above-captioned patent infringement
lawsuit against Apple in the United States District Court for the Western District of Texas
(“WDTX”). I understand in the Complaint, STC.UNM identified certain Apple products that are
“adapted to operate in and with wireless telecommunications networks that at least comply with
the requirements of the IEEE 802.11ac wireless networking standard (referred to as ‘Wireless
Telecommunications Networks’)” (referred to as “Accused Technology”). Complaint ¶ 45.
       8.      I understand that in the Complaint, STC.UNM identified the following list of
accused products: iPhone 6, iPhone 6 Plus, iPhone 6s, iPhone 6s Plus, iPhone SE, iPhone 7,
iPhone 7 Plus, iPhone 8, iPhone 8 Plus, iPhone X, iPhone XS, iPhone XR, iPhone XS Max, iPad
Pro (1st generation), iPad Pro (2nd generation), iPad (5th generation), iPad (6th generation), iPad
Air 2, iPad Mini 4, Apple TV (4th generation), Apple TV 4K; iPod touch (6th generation),
MacBook, MacBook Air, MacBook Pro (3rd generation), MacBook Pro (4th generation), iMac
(4th generation), iMac (5th generation), iMac Pro, MacPro (2nd generation), Mac Mini (3rd
generation) (collectively referred to as “Accused Products”). Complaint ¶ 44.
       9.      Based on my review of the Declaration of Rohit Gaikwad, submitted in support of
Apple’s Motion to Transfer, I understand that the Accused Products (referred to as the “Accused
Instrumentalities” in the Complaint ¶ 44) contain Broadcom Inc. (“Broadcom”) semiconductor
chips that support Wi-Fi functionality.




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       10.     I understand from the Complaint that STC.UNM alleges that the Accused
Products infringe U.S. Patent No. 8,249,204 (“the ’204 patent”), U.S. Patent No. 8,265,096 (“the

’096 patent”) and 8,565,326 (“the ’326 patent”).
       11.     To the extent Apple sells or has sold the Accused Products in the United States,
the Accused Products are or were sold in a similar manner nationwide.
       12.     Apple employees with knowledge of the marketing, licensing and sales of the
Accused Products work in or near Santa Clara Valley. Electronic and paper records of their
work, along with Apple business records related to product and service revenue, are located in or
near Santa Clara Valley.
       13.     As of the date of this declaration, Apple operates over 270 retail stores in the
United States, more than 50 of which are in California, including 19 stores in the NDCA.
       14.     Apple has two retail stores in Austin, two retail stores in San Antonio, and one
retail store in El Paso, located in the WDTX. I am not aware of any retail employee in these
retail stores who was ever involved in the research, design, development, or marketing of the
Accused Technology.
       15.     Apple has non-retail offices in Austin and Lockhart, Texas (located in the
WDTX) and Dallas and Garland, Texas (located in the Northern District of Texas). However, to
the best of my knowledge, Apple employees with relevant information relating to the Accused
Technology for marketing, licensing, and financials are located in the NDCA.
       16.     The Apple employees whom Apple expects will be willing witnesses and who
have knowledge relevant to marketing, licensing or financials are myself, Vivek Bhardwaj, and
Jeff Lasker. I, Mr. Bhardwaj, and Mr. Lasker all work in or near Santa Clara Valley.
       17.     Vivek Bhardwaj has knowledge of how and in what instances Apple has marketed
Wi-Fi technology in the Accused Products. Mr. Bhardwaj and his team members are located in
the NDCA. None are located in Texas.
       18.     Jeff Lasker is knowledgeable about licensing of intellectual property, including
patent rights, by and to Apple as well as the pre-suit discussions between Apple and STC.UNM.



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